                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ARIZONA



UNITED STATES OF AMERICA,               )
                                        )
                             Plaintiff, )
                                        )
        vs.                             )
                                        )
TOWN OF COLORADO CITY, ARIZONA, )
et al.,                                 )                      No. 3:12-cv-8123-HRH
                                        )                        (Prescott Division)
                            Defendants. )
_______________________________________)



                                          ORDER

                                         Case Status
       The court has received and reviewed the November 1, 2017,1 report of court-

appointed monitor Roger Carter and the January 5, 2018, report of Police Consultant Jim

Keith.2

       The schedule proposed for the completion of revisions to a police policy manual is

approved. The court endorses the Police Consultant’s proposal to provide training for the

marshal’s office as groups of policies are approved, with final training to be accom-
plished by mid-2018. The court has some concern about the uncertainty regarding when
the two city attorneys will provide the training of the marshal’s office which the court has

required. In a further report, as specified below, the Police Consultant will please update
the court on the status of his training and that by the city attorneys.

       1
          Docket No. 1147; entered on docket January 25, 2018.
       2
          Currently pending review.

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       One aspect of the reorientation of the marshal’s office not addressed by Consultant
Keith appears in the November 1 report of Monitor Carter. The Monitor is working with

the marshal’s office to ensure that the Monitor is receiving all calls for service in a
monthly, computer-aided, dispatch report. The Monitor requests the assistance of
Consultant Keith to assure that the reports are regularly provided and complete. The
Monitor reports that the Consultant has asked not to be involved in the call-for-service
reporting process. The Monitor reports that “the Chief [Marshal] often complains about

the injustice of the order and how it has affected him and his officers.”3
       In deciding what form of injunction should be entered in this case with respect to

policing issues, the court was confronted with a plausible demand by the plaintiff that the
marshal’s office be disbanded and that the policing function for the Defendant Cities be

turned over to the respective counties. Rather than put the marshal’s office out of
business, the court settled upon a more measured, less drastic, course of action aimed at

reforming the operations of the marshal’s office. The court does not doubt that the chief

marshal and his officers have been deeply affected (and probably offended) by what is

required of them, but the civil rights of the people of the Defendant Cities must be

observed and protected. It is hoped that the revised policy manual and the training that

will be provided will cause the chief marshal and his officers to achieve a better
understanding of what their oath of office requires of them.
       With respect to the Police Consultant’s request (not to be involved in the incident

reporting process), the court does not expect the Consultant to be involved in the
administrative process of preparing the reports and submitting them to the Monitor.
However, to the extent that the Monitor determines that the reports are inadequate in any

       3
        Docket No. 1147.

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respect, the court does expect the Consultant to work with the marshal’s office to effect
such changes in thought or procedure as are necessary from time to time to the end that

ongoing reports be accurate and complete.
       The court thanks the Monitor and the Police Consultant for their recent reports.
The court looks forward to receiving the Monitor’s next quarterly report, and requests that
the Police Consultant provide the court with an updated report on or before April 1, 2018.
       DATED at Anchorage, Alaska, this 7th day of February, 2018.



                                                 /s/ H. Russel Holland
                                                 United States District Judge


cc:    Donald James Keith; 1926 South Summerfield Lane; Washington, Utah 84780




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